        Case 2:20-cv-04759-CMR Document 9-2 Filed 02/10/21 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT FOR
                    THE EASTERN DISTRICT OF PENNSYLVANIA
                                              :
RICHARD A. GORMAN,                            :
                                              :
              Plaintiff,                      :
                                              :
v.                                            :
                                              : Case No.: 2:20-cv-04759-JCJ
ILYA SHPETRIK,                                :
                                              :
                                              :
              Defendant.                      :
                                              :
                                              :


                                           ORDER

               AND NOW, this _________day of ______, 2021, pursuant to Local Rule of

Civil Procedure 83.5.2(b) of this Court, it is hereby ORDERED that the application of Matthew

J. Press to appear in this action as counsel pro hac vice for Defendant Ilya Shpetrik is

GRANTED.

                                             BY THE COURT:



                                             ___________________________________
                                              J.




                                               1
